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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT
for the

SOUTHERN DISTRICT OF NEW Yq]

PULSEDATA, INC. )
Plaintiff )
V. ) Case No. 23 Civ. 3653
JUNG HOON SON )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Defendant - Jung Hoon Son

Date: 06/02/2023 dates
ttorney’s sigfature

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